         Case 4:20-cv-02058-ACA Document 125-1 Filed 11/09/23 Page 1 of 8                   FILED
                                                                                   2023 Nov-09 PM 03:42
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                                    APPENDIX II

                   SUMMARY JUDGMENT REQUIREMENTS

                                       NOTICE

This exhibit contains specific, mandatory instructions regarding the preparation

and submission of briefs and evidentiary materials in support of and in opposition

to potentially dispositive motions. These instructions must be followed strictly.

Except for good cause shown, briefs and evidentiary materials that do not conform

to the following requirements may be stricken.


SUBMISSION DATES

         The court’s scheduling order will provide a deadline for filing summary

judgment motions. Any motion for summary judgment and evidentiary materials

will be due on or before that deadline. A supporting brief will be due within one

business day of the motion and evidentiary materials being filed. The court will

enter a briefing schedule upon receipt of the brief in support of the motion for

summary judgment.

         To ensure that each party is afforded a full and fair opportunity to be heard,

the parties must deliver copies of briefs and evidentiary materials to opposing

parties without undue delay and, generally, on the same date the party submits the

brief.



                                            1
      Case 4:20-cv-02058-ACA Document 125-1 Filed 11/09/23 Page 2 of 8




SUBMISSIONS

      The parties’ submissions in support of and opposition to summary judgment

motions must consist of: (1) a brief containing, in separately identified sections,

(i) a statement of allegedly undisputed relevant material facts and (ii) a discussion

of relevant legal authorities; and (2) copies of any evidentiary materials upon

which the party relies. More detailed requirements for these submissions are

explained in the following sections.

REQUIREMENTS FOR BRIEFS

      A.     Format

      Initial and response briefs are limited to thirty-five pages. Reply briefs are

limited to ten pages. Briefs that exceed twenty pages must include a table of

contents that accurately reflects the organization of the document. The table of

contents is not included in the page limit. The text of briefs must be double-spaced

(except for quotations exceeding fifty words, which may be block indented from

the left and right margins and single spaced) using fourteen point typeface,

preferably Times New Roman.

      The court will not consider arguments incorporated by reference to earlier

filings and will not consider substantive arguments made in footnotes. The court




                                          2
       Case 4:20-cv-02058-ACA Document 125-1 Filed 11/09/23 Page 3 of 8




may strike any brief that would exceed the page limits because of attempts to

incorporate by reference or include substantive arguments in footnotes.

       B.     Submissions

       The parties must electronically file the original brief. The parties also shall

e-mail to the court’s chambers (axon_chambers@alnd.uscourts.gov) the brief in

Word format.       The email must copy opposing counsel, or if a party is

unrepresented, the unrepresented party.

       For requirements about the submission of courtesy copies of evidentiary

materials, see Part III.D. of the initial order.

       C.     Binding

       The Clerk will not accept bound materials for filing, but the parties must

securely bind the court’s “courtesy copy” of the brief in a three-ring binder or large

clip for ease of use and to prevent inadvertent loss of pages. In addition, all pages

submitted in the court’s “courtesy copy” shall be three-hole punched.

       D.     Manner of Stating Facts

       All briefs submitted either in support of or opposition to a motion must

begin with a statement of allegedly undisputed relevant material facts set out in

separately numbered paragraphs. Counsel must state facts in clear, unambiguous,

simple, declarative sentences. Each statement of fact must be supported by specific




                                             3
      Case 4:20-cv-02058-ACA Document 125-1 Filed 11/09/23 Page 4 of 8




reference to the CM/ECF document and page number of the evidentiary

submissions.

               1.   Moving Party’s Initial Statement of Facts

      The moving party shall list in separately numbered paragraphs each material

fact the movant contends is true and not in genuine dispute, and upon which the

moving party relies to demonstrate that it is entitled to summary judgment. Each

statement of fact must be followed by a specific reference to those portions of the

evidentiary record that the movant claims supports it.

             2.     Opposing Party’s Statement of Facts

      Each party opposing a summary judgment motion also must submit a

statement of facts divided as follows.

                    a.    Response to Movant’s Statement of Facts

      The first section must consist of only the non-moving party’s disputes, if

any, with the moving party’s claimed undisputed facts. The non-moving party’s

response to the moving party’s claimed undisputed facts shall be in separately

numbered paragraphs that coincide with those of the moving party’s claimed

undisputed facts. Any statements of fact that are disputed by the non-moving party

must be followed by a specific reference to those portions of the evidentiary record

upon which the dispute is based. All material facts set forth in the statement

required of the moving party will be deemed to be admitted for summary judgment


                                         4
      Case 4:20-cv-02058-ACA Document 125-1 Filed 11/09/23 Page 5 of 8




purposes unless controverted by the response of the party opposing summary

judgment.



                   b.     Additional Undisputed Facts

      The second section may contain additional, allegedly undisputed facts set

out in separately numbered paragraphs that the opposing party contends require the

denial of summary judgment. The second section of the opposing party’s statement

of facts, if any, shall be clearly designated as such. Each statement of fact in this

section shall be supported by its own evidentiary citation. The opposing party

should include only facts that the opposing party contends are true and not in

genuine dispute.

                   c.     Additional Disputed Facts

      The third section may contain additional, allegedly disputed facts set out in

separately numbered paragraphs that the opposing party contends require the

denial of summary judgment. The third section of the opposing party’s statement

of facts, if any, shall be clearly designated as such. Each statement of allegedly

disputed facts must be followed by specific reference to those portions of the

evidentiary record which both support and contradict the alleged fact.




                                          5
      Case 4:20-cv-02058-ACA Document 125-1 Filed 11/09/23 Page 6 of 8




             3.    Moving Party’s Reply

      The reply submission, if any, must include the moving party’s disputes, if

any, with the non-moving party’s additional claimed undisputed facts. The moving

party’s response to the non-moving party’s additional claimed undisputed facts

shall be in separately numbered paragraphs that coincide with those of the non-

moving party’s additional claimed undisputed facts. Any statements of fact that are

disputed by the moving party must be followed by a specific reference to those

portions of the evidentiary record upon which the disputation is based. All

additional material facts set forth in the statement required of the opposing parties

will be deemed to be admitted for summary judgment purposes unless controverted

by the statement of the movant.

REQUIREMENTS FOR EVIDENTIARY MATERIALS

      To facilitate the court’s requirement that the parties cite to the CM/ECF

document and page numbers, the parties must electronically file all evidentiary

materials (e.g., affidavits, exhibits, depositions, or other products of discovery)

relied upon in support of or opposition to summary judgment motions before they

file their briefs in support of or opposition to summary judgment. The parties may

file their briefs, with citations to the CM/ECF document and page numbers, one

business day after making their evidentiary submissions.




                                          6
      Case 4:20-cv-02058-ACA Document 125-1 Filed 11/09/23 Page 7 of 8




      Any party opposing a summary judgment motion may reference materials

included in the moving party’s initial evidentiary submission without resubmitting

that evidentiary submission. Parties should refrain from re-submitting additional

copies of the same documents.

      While the court reserves the right to consider evidentiary materials that are

not specifically referenced in the brief, no party should assume the court will

consider such materials. A specific reference must include the CM/ECF document,

page, and, when appropriate, line number.

      A.     Organization

      Each volume of evidentiary materials must include a table of contents that

includes a brief narrative description of each document included: e.g., “Plaintiff’s

Exhibit 1, the Deposition of John Jones.” Each affidavit, exhibit, deposition, or

other product of discovery must be separately identified by a capital letter or

numeral (i.e., “Exhibit A” or “Exhibit 1”); and, if the exhibit contains more than

one page, each page must be separately numbered. Counsel are directed to

submit entire depositions, even if relying only on excerpts, including all

exhibits to the depositions. Deposition travel transcripts that are submitted as part

of the evidentiary record should include no more than four pages of deposition text

per 8½” by 11” page.




                                          7
       Case 4:20-cv-02058-ACA Document 125-1 Filed 11/09/23 Page 8 of 8




      B.     Number of Sets Submitted

      The parties must electronically file one set of evidentiary materials. The

parties must submit a “courtesy copy” to the Clerk of Court for delivery to the

court’s chambers by the Clerk, an exact copy of the filed set of evidentiary

materials, reflecting the CM/ECF case number, document number, date, and page

stamp on each page, within three business days of electronic filing. Additionally,

the evidentiary material should include a tab corresponding to each document.

Regarding courtesy copies of depositions, parties shall include the entire

deposition, in travel transcript format consisting of no more than four pages of

deposition text per 8 ½ by 11 inch page, as well all exhibits to the depositions with

sub-tabs, clearly labeled.

      C.     Binding

      The Clerk will not accept bound materials for filing, but the parties must

securely bind the court’s “courtesy copy” of the evidentiary submission—in

separately numbered volumes, if necessary—for ease of use and to prevent

inadvertent loss of pages.




                                          8
